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     Charles Daniels, Tara Carpenter,
9    Romeo Aranas, and Renee Baker

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12
                               UNITED STATES DISTRICT COURT
13
                                       DISTRICT OF NEVADA
14
     TRACY WAYNE VICKERS,                                 Case No. 2:20-cv-01401-GMN-NJK
15
                         Plaintiff,
16                                                       STIPULATION AND PROPOSED
     v.                                                 ORDER TO EXTEND BY TEN DAYS
17                                                           THE DEADLINE FOR
     HENRY GODECKI, et al.,                              DEFENDANTS TO RESPOND TO
18                                                      PLAINTIFF’S RULE 60(b) MOTION
                         Defendants.                           (ECF NO. 30) FOR
19                                                           RECONSIDERATION
                                                                (First Request)
20
           Defendants, Pamela Del Porto, Harold Wickham, Charles Daniels, Tara Carpenter,
21
     Romeo Aranas, and Renee Baker, by and through counsel, Aaron D. Ford, Attorney
22
     General for the State of Nevada, and Alexander J. Smith, Deputy Attorney General of the
23
     State of Nevada, Office of the Attorney General, and Plaintiff Tracy Wayne Vickers, by
24
     and through counsel Travis N. Barrick, hereby stipulate to extend by ten days the
25
     October 26, 2021 deadline for Defendants to respond to Vickers’s Rule 60(b) motion
26
     (ECF No.   30)   for    reconsideration;    Defendants   shall   respond   no   later   than
27
     November 5, 2021.
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1          At a meet-and-confer held earlier today, counsel for the defense informed counsel
2    for the plaintiff that the former very recently assumed defense responsibilities for this
3    action and several others following reallocation of cases within the Public Safety Division
4    of the Attorney General’s Office. Counsel for the defense requires an additional ten days
5    in which to (i) familiarize himself with the action and all the filings on the docket to date
6    and (ii) to conduct the necessary research to respond to Vickers’s motion (ECF No. 30) in
7    a manner that will ensure the court is briefed fully and is able to reach a sound legal
8    resolution of the issues, especially considering that a motion under Rule 60(b), Federal
9    Rules of Civil Procedure, is adjudicated in accord with equitable principles and thus relief
10   is discretionary.
11         Therefore, the parties hereby stipulate to extend the current deadline for
12   Defendants to respond to Vickers’s Rule 60(b) motion (ECF No. 30) for reconsideration
13   from October 26, 2021, to November 5, 2021. This stipulation is respectfully submitted by
14   the parties in good faith and not for the purposes of delay on this 26th day
15   of October, 2021.
16
                                                  AARON D. FORD
17                                                Attorney General
18
     By: /s/ Travis N. Barrick                    By: /s/ Alexander J. Smith
19       TRAVIS N. BARRICK (Bar #9257)               ALEXANDER J. SMITH (Bar #15474)
         Gallian, Welker, & Beckstrom                Deputy Attorney General
20       Attorney for Plaintiff                      Attorneys for Defendants
21

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23                                                  IT IS SO ORDERED.

24                                                  Dated this ____
                                                                27 day of October, 2021.

25

26
                                                    ___________________________
27                                                  Gloria M. Navarro, District Judge
                                                    UNITED STATES DISTRICT COURT
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